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                                          October 24, 2024



  United States District Court
  District of New Jersey
  The Honorable Jose R. Almonte, USMJ
  2 Federal Square
  Newark, NJ 07102

         RE:    Tyrone Fuquan Ellison v. Markisha Cook, Daniel Lynch and Henry Acebo
                Docket No.: U.S.D.C. 2:22-cv-05001
                D/A: 8/11/2020
                Claim No.: 22-02453
                Our File No.: 475.85226

  Dear Your Honor,

        Please be advised this office represents defendants, Markisha Cook, Daniel Lynch and
  Henry Acebo in the above referenced matter.

          A settlement conference is scheduled in this matter for Monday, October 28, 2024. Please
  accept this letter as a request for a brief adjournment of the upcoming settlement conference. At
  this juncture, the undersigned does not have any authority to make an offer towards resolution.
  Defendant’s client is currently reviewing the matter for purposes of resolution and has requested
  additional time to do so. Therefore, so to not waste the parties or Your Honor’s time, we
  respectfully request that the settlement conference be scheduled for a later date.

         Plaintiff’s counsel has kindly consented to this request.

         Thank you for your kind attention to this matter.

                                               Respectfully yours,



                                               By: ____________________________
                                                      Kathryn V. McCallion, Esquire
